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 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00045-LJO-BAM

12                                 Plaintiff,          PRELIMINARY ORDER OF FORFEITURE

13                            v.

14   MARTIN BAHRAMI,

15                                 Defendant.

16

17          Based upon the plea agreement entered into between United States of America and defendant

18 Martin Bahrami, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 18 U.S.C. § 982(a)(2)(A), defendant Martin Bahrami’s interest in the

20 following property shall be condemned and forfeited to the United States of according to law:

21                 a. Real Property located at 2208 Giant Oak Lane, Ceres, Stanislaus County
                      California, APN: 069-036-067-000, and more fully described as follows:
22
                       Lot 1, Block 6764, as shown on the Map of “Pinehurst South Unit No. 2” filed for
23                     record February 25, 2005, in Book 42 of Maps at Page 21 (Instrument #2005-
                       0032548), in the official records of Stanislaus County, California,
24
                       and,
25
                   b. A personal forfeiture money judgment against Martin Bahrami in the amount of
26                    $319,085.06.
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 1          2.      The above-listed assets constitute property derived from or is property that constitutes the

 2 proceeds the defendant obtained directly or indirectly, as the result of a violation of 18 U.S.C. § 1014,

 3 False Statements to Bank.

 4          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 5 seize the above-listed property. The aforementioned property shall be seized and held by the United

 6 States Marshals Service in its secure custody and control.

 7          4.      a.      Pursuant to 18 U.S.C. § 982(b), incorporating 21 U.S.C. § 853(n), and Local Rule

 8 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 9 the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

10 General may direct shall be posted for at least 30 consecutive days on the official internet government

11 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

12 written notice to any person known to have alleged an interest in the property that is the subject of the

13 order of forfeiture as a substitute for published notice as to those persons so notified.

14                  b.      This notice shall state that any person, other than the defendants, asserting a legal

15 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

16 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

17 within thirty (30) days from receipt of direct written notice, whichever is earlier.

18          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

19 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(2)(A), in which all interests will be

20 addressed.

21
     IT IS SO ORDERED.
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23      Dated:     October 13, 2016                            /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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      PRELIMINARY ORDER OF FORFEITURE                      2
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